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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS



 MICHAEL BUSH,

                Plaintiff,                                Case No.: 1:22-cv-10473-GAO
 v.

 THE WANG CENTER FOR THE PERFORMING
 ARTS, INC. d/b/a BOCH CENTER,

                Defendant.


            NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF DEFENDANT
         THE WANG CENTER FOR THE PERFORMING ARTS, INC.’S MOTION TO DISMISS

       On September 12, 2022, the United States District Court for the District of Massachusetts issued its

Memorandum and Order Granting Defendants’ Motion to Dismiss (“Order”) in Michael Bush, et al., v. Linda

Fantasia, et al., Case No. 21-cv-11794-ADB (referred to herein as “Fantasia”), granting the Defendants’

Motion to Dismiss as to Mr. Bush’s Americans with Disabilities Act (“ADA”) and Mass. Gen. Laws ch. 272

s. 92A and 98 (“Public Accommodations”) claims. A copy of that decision is attached here as Exhibit A.

       As in this case, in Fantasia, Mr. Bush brought claims against the Defendants related to their COVID-

19 mask mandate policies. In granting the Defendants’ Motion to Dismiss, the Court ruled that it was

appropriate to dismiss Mr. Bush’s ADA and Public Accommodations claims. Of particular relevance here,

the Court found that Mr. Bush failed to adequately allege he was “disabled” within the meaning of the ADA

because he alleged only that “face masks are medically inappropriate for him to wear” and did not identify

any physical or mental impairment that substantially limited one or more of his major life activities. See

Fantasia at 18. The Court also found that “[e]ven if Plaintiffs [including Mr. Bush] had plausibly alleged that

they were disabled within the meaning of the ADA, their claim still fails because they plead no facts that

plausibly suggest that they were excluded from the Library or otherwise discriminated against by reason of

this disability.” Id. at 18. The court also found that Plaintiffs’ Public Accommodations claims should be


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dismissed because Plaintiffs “ha[d] not alleged that they ha[d] filed a complaint with the MCAD” and even

if they had, Plaintiffs’ claims would still have failed. Id. at 20-21.

        The decision in Fantasia is relevant to The Wang Center for the Performing Arts, Inc. d/b/a Boch

Center’s (“The Wang Center’s”) argument advanced on pages 13-18 of its Memorandum in Support of

Defendants Motion to Dismiss (Docket No. 17).


        Dated: September 19, 2022                       Respectfully submitted,

                                                        The Wang Center for the Performing Arts, Inc.
                                                        d/b/a Boch Center

                                                        By its attorneys,

                                                        /s/ Kelsey Tavares
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                                                        Counsel for Defendant




                                        CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been furnished this 19th day of

September, 2022 via email and mail to:

        Michael Bush
        280 Lowell Street
        Carlisle, MA 01741
        bmoc54@verizon.net

        Plaintiff
                                                /s/ Kelsey Tavares
                                                Kelsey Tavares


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